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Electronic Articles of Organization Lt 7000246 198

For
Florida Limited Liability Company Sec. Of State’

Article I
The name of the Limited Liability Company is:

ABSOLUTE MEDICAL SYSTEMS, LLC.

Article IT
The street address of the principal office of the Limited Liability Company 1s:

8901 LEE VISTA BLVD.
#3003
ORLANDO, FL. 32829

The mailing address of the Limited Liability Company 1s:

8901 LEE VISTA BLVD.
#3003
ORLANDO, FL. 32829

Article II

The name and Florida street address of the registered agent is:

GREGORY SOUFLERIS
8901 LEE VISTA BLVD.
#3003

ORLANDO, FL. 32829

Having been named as registered agent and to accept service of process for the above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provisions of all statutes
relating to the proper and complete performance of my duties, and I am familiar with and accept the
obligations of my position as registered agent.

Registered Agent Signature: GREGORY SOUFLERIS

Article TV
The effective date for this Limited Liability Company shall be:

11/30/2017

Signature of member or an authorized representative
Electronic Signature: GREGORY SOUFLERIS

I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
file an annual report between January 1st and May Ist in the calendar year following formation of the LLC

and every year thereafter to maintain "active" status.

EXHIBIT

C

 
